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UNITED STATES OF AMERICA,
upon the relation and for the use of the
TENNESSEE VALLEY AUTHORITY,

 

Plaintiff,
vs. No. 00-12] 7 T/An

STEAM MILL FERRY PARTNERS,
et al.,

\_’\_V`\_¢\_/\_¢WV\_/WWWW`/

Defendants.

 

AMENDED ORDER SETTING SETTLEMENT CONFERENCE

 

On April 28, 2005 , United States District Judge J ames D. Todd referred this action to the
Magistrate Judge for a settlement conference The undersigned conducted a settlement
conference on Friday, June 10, 2005, and the Court entered an Order resetting the Scheduling
Conference for July 21, 2005. The date in the Court’s Order Setting Settlement Conference Was
incorrect; therefore, it is now ORDERED that the settlement conference should reconvene
before United States Magistrate Judge S. Thomas Anderson on FRIDAY, .IULY 22, 2005 at
9:30 A.M. in at the United States Courthouse, 111 S. Highland Avenue, Jackson, Tennessee. All

counsel of record shall be required to attend the settlement conference1

 

1Becaluse he is retired, Plaintist attorney Mr. Kenneth D. Mielke shall not be required to attend the
settlement conference

This document entered on the docket sheet in compliance

Wirh nme 53 and,-'or_?e (a) FncP on 010/313 '95

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IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 33 306 f

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 1:00-CV-01217 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

